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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                  )
           Plaintiff,                      )
                                           )
vs.                                        ) Case No: 3:16-cr-30134-SMY
                                           )
MARCUS KOGER,                              )
          Defendant.                       )

                    MOTION TO AMEND CONDITION OF PROBATION

       Comes now the defendant, Marcus Koger, by and through his attorney, The Law

Office of Jessica Koester, LLC and in support of his Motion to Amend Condition of Probation

states the following:

       1. Mr. Koger was sentenced to a term of probation on July 13, 2017.

       2. One of the factors the court took into consideration when sentencing Mr. Koger

          were his substantial rehabilitative efforts.

       3. One of Mr. Koger’s most impressive rehabilitative efforts has been his schooling

          to become a nurse.

       4. Mr. Koger relies on student loans to pay his tuition and living expenses while in

          school.

       5. Probation has informed Mr. Koger that he may not receive student loans absent

          further order from this court as they constitute new lines of credit which are

          prohibited under the current conditions of probation.

       6. The Government has been contacted about this motion and has no objection to

          Mr. Koger receiving student loans payable to the school.
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     7. Absent the ability to procure student loans Mr. Koger will be unable to complete

         his education.

  WHEREFORE, the defendant, Marcus Koger, respectfully requests this court grant his

  Motion to Amend a Condition of Probation and permit him to receive student loans to

  cover his tuition and living expenses while he completes school.




                                        /s/ Jessica J. Koester_____________
                                        Jessica J. Koester #6277806
                                        THE LAW OFFICE OF JESSICA KOESTER, LLC
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                          IN THE UNITED STATES DISTRICT COURT

                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,               )
           Plaintiff,                   )
                                        )
vs.                                     ) Case No: 3:16-cr-30134-SMY
                                        )
MARCUS KOGER,                           )
          Defendant.                    )
                                CERTIFICATE OF SERVICE

        I hereby certify that on August 10, 2017 I electronically filed the Motion to Amend
Condition of Probation with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

Norman Smith
Norman.Smith@usdoj.gov

And I hereby certify that on August 10, 2017 I mailed by United States Postal Service, the
document to the following non-registered participants:

NONE.

                                             /s/ Jessica J. Koester
